Case 2:04-cr-20077-SH|\/| Document 80 Filed 06/23/05 Page 1 of 3 Page|D 116

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UNITED STATES OF AMERICA VMD.OFTTLFHQWWHS
Plaintiff,
v. CR. NO. 04-20077-Ma
JERR.A LYKINS,

Defendant .

 

ORDER TO SURRENDER

 

The defendant, Jerra Lykins, having been sentenced in the above case
to the custody of the Bureau of Prisons and having been granted leave by
the Court to report to the designated facility, IS HEREBY ORDERED to
surrender to the Bureau of Prisons by reporting to Federal Correctional
Facility, 501 Capital Circle, N.E., Tallahassee, Florida 32301-3572, no
later than 2:00 p.m., Friday, July 29, 2005.

IT IS FURTHER ORDERED that upon receipt of a copy of this Order the
defendant shall sign one copy of this order in the proper space and
return it to the Clerk of Court in the enclosed self-addressed envelope,
acknowledging that she has received a copy of this Order and that she
Will report as ordered to the facility named above.

$'
ENTERED this the 1 Aday of June, 2005

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SAMUEL H. MAYS, JR.
ITED STA'I‘ES DISTRIC'I' JUDGE

 

  
 
 

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Case 2:04-cr-20077-SH|\/| Document 80 Filed 06/23/05 Page 2 of 3 Page|D 117

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ACKNOWLEDGMENT TO BE SIGNED BY THE DEFEN'DANT

I agree to report as directed above and understand that
if I fail to report, I may be cited for contempt of
Court and if convicted, may be punished by
imprisonment, fine or hoth.

 

Defendant

 

Date

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 80 in
case 2:04-CR-20077 Was distributed by faX, mail, or direct printing on
June 27, 2005 to the parties listed.

 

 

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Honorable Samuel Mays
US DISTRICT COURT

